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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

Central District                                          No. 4:18-cv-40009

D.M., et al.,                 )
      PLAINTIFFS,             )           MOTON TO ADMIT
                              )           ANDREW J. KING TO
v.                            )           THE DISTRICT COURT
                              )           OF MASSACHUSETTS,
CYNTHIA DUNGEY,               )           PRO HAC VICE.
DAVID DOMBROWSKI,             )
ASHLEY KELLER, and,           )
LYNN STACY,                   )
      DEFENDANTS.             )
________________________________________________________________________

      The undersigned counsel respectfully moves this court to admit

Andrew J, King, Esquire, as counsel for the Delaware County Defendants

(David Dombrowsky, Ashley Keller and Lynn Stacy), pro hac vice, in this

matter, under Local Rule 83.5.3. Andrew J. King is not a member of this

Court's bar, but meets the requirements of admission as set forth in Exhibit

A. Attorney King's representation of such Defendants would be consistent

with his duties as an Assistant Prosecuting Attorney for the Delaware

County Prosecuting Attorney's Office. Therefore, the undersigned counsel

respectfully asks this Honorable Court to allow him to appear in this matter.

                                       Respectfully submitted,

                                       /s/ James P. McKenna
                                       _____________________________
                                       James P. McKenna, Esquire
                                       BBO # 548681
                                       P.O. Box 541
                                       North Grafton, MA 01536
                                       James.P.McKenna.Esquire@aol.com
February 13, 2018                      774.317.0983
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                         Exhibit A
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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

Central District                                           No. 4:18-cv-40009

D.M., et al.,                 )
      PLAINTIFFS,             )
                              )
v.                            )           CERTIFICATE OF SERVICE.
                              )
CYNTHIA DUNGEY,               )
DAVID DOMBROWSKI,             )
ASHLEY KELLER, and,           )
LYNN STACY,                   )
      DEFENDANTS.             )
________________________________________________________________________

      I hereby certify that the above document was served upon the counsel
for Defendant Cynthia Dungey and upon the Plaintiffs by first-class, pre-
paid, United States mail this Thirteenth day of February, 2018, by
forwarding copies to:

                           Heather and Adam May
                            187 Ramshorn Road
                             Dudley, MA 01571

                                     and

                   Assistant Attorney General Therese Hanna
                         .Ohio Attorney General's Office
                      Health and Human Services Section
                              30 East Broad Street
                                   26th Floor
                             Columbus, Ohio 43215.

                                       Respectfully certified,

                                       /s/ James P. McKenna
                                       _____________________________
                                       James P. McKenna, Esquire
                                       BBO # 548681
                                       P.O. Box 541
                                       North Grafton, MA 01536
                                       James.P.McKenna.Esquire@aol.com
February 13, 2018                      774.317.0983
